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                 Exhibit 3
       Declaration of David Hardy, with supporting exhibits,
                     dated February 24, 2020
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